                                          Case 5:18-cv-02335-EJD Document 11 Filed 04/19/18 Page 1 of 1




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                                   4                                UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7    SECURE CAM, LLC,                                  Case No.18-cv-02335-HRL
                                                      Plaintiff,
                                   8
                                                                                          ORDER DENYING APPLICATION TO
                                                v.                                        APPEAR PRO HAC VICE
                                   9

                                  10    PROJECT NURSERY, LLC,                             Re: Dkt. Nos. 4, 7
                                                      Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Plaintiff’s counsel requests leave to appear in this matter pro hac vice. The request does

                                  14   not comply with the applicable Civil Local Rules and is therefore denied. The denial is without

                                  15   prejudice to counsel resubmitting his application in accordance with the Local Rules.

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                                  17          IT IS SO ORDERED.

                                  18   Dated: April 19, 2018

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                                                                                                   HOWARD R. LLOYD
                                  21                                                               United States Magistrate Judge
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